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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

In re:
                                    §           Case No. 23-34815
GALLERIA 2425 OWNER, LLC            §           Chapter 11
            Debtor                  §
______________________________________________________________________________

                     NOTICE OF APPEAL BY GALLERIA 2425 OWNER, LLC
                         TO THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS

         Galleria 2425 Owner, LLC (hereafter “Appellant”) appeals to the United States District Court for

the Southern District of Texas under 28 U.S.C § 158, from the judgments, orders, or decrees to wit: (1)

Order and Notice Approving Disclosure Statement; Fixing Time for Filing Objections to Confirmation of

Plan; and Fixing Time for Hearing on Confirmation of Plan entered on May 3, 2024 at docket #276; and

(2) Order Denying Motion entered on May 21, 2024, at docket #359. The Orders are attached. The names

of the parties to the appeal are listed below:

Galleria 2425 Owner, LLC, Debtor
2425 West Loop South, 11th Floor
Houston, Texas 77027
Appellant

Other Parties

Reese Baker
Baker & Associates
950 Echo Lane, Ste 300
Houston, Texas 77024
Counsel for Galleria 2425 Owner, LLC

National Bank of Kuwait, S.A.K.P., New York Branch
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Counsel for U. S. Trustee

2425 West Loop, LLC
James Robert MacNaughton
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Counsel for 2425 West Loop, LLC

       To the extent that the Orders referenced above are not final orders, the Appellant hereby

requests leave to appeal the Orders.

       Dated: June 4, 2024


                                          Respectfully submitted,

                                          /s/Reese W. Baker
                                          Reese W. Baker
                                          TX Bar No. 01587700
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                                             ATTORNEYS FOR APPELLANT

                                     CERTIFICATE OF SERVICE

        I certify that on June 4, 2024, that a copy of the above document was delivered to the Electronic
Filing System for the United States Bankruptcy Court for the Southern District of Texas.



                                             /s/ Reese W. Baker
                                             Reese W. Baker
